19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 1 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 2 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 3 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 4 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 5 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 6 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 7 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 8 of 18
19-01294-scc   Doc 53   Filed 10/25/19    Entered 10/25/19 23:44:36   Main Document
                                         Pg 9 of 18
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36   Main Document
                                      Pg 10 of 18
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36   Main Document
                                      Pg 11 of 18
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36   Main Document
                                      Pg 12 of 18




                            Exhibit 1
19-01294-scc   Doc 53    Filed 10/25/19 Entered 10/25/19 23:44:36       Main Document
                                       Pg 13 of 18


                        ALFONSO MARTÍN LÓPEZ MELIH
                            CURRICULUM VITAE



  ALFONSO M. LÓPEZ MELIH was born in Mexico City on June 4, 1965. He is a
  bankruptcy practitioner with over 25 years of experience representing debtors and
  creditors in some of the most high profile and complex restructuring matters. He is
  widely recognized as a leading lawyer in bankruptcy, restructuring, antitrust,
  arbitration, administrative, commercial and civil litigation in Mexico. Spanish is his
  native language and he is fluent in English.

  Mr. López Melih received his Law degree in 1990 from the Universidad Nacional
  Autónoma de México (UNAM) and since that time has practiced as a litigator
  specializing in Mexican Civil, Commercial and Administrative Law. From 1989 to
  2007, Mr. Lopez Melih was partner of Quijano, Cortina, López y de la Torre, where
  he began his career in 1984, and where he worked on numerous civil, commercial
  and administrative cases involving Mexican and foreign entities.

  In 2007, he founded the law firm López Melih y Estrada, S.C., where he is in charge
  of the firm’s civil, commercial and administrative practice groups, working on
  several Mexican and foreign cases.

  Mr. López Melih has successfully represented different companies that were subject
  to the largest business reorganization proceedings that have taken place in Mexico
  since the new Business Reorganization Law took effect.

  He has been recognized as a specialist in Mexican bankruptcy law by the United
  States Bankruptcy Court for the Southern District of New York and the United States
  Bankruptcy Court for the Northern District of Texas, Dallas Division.

  He has lectured in commercial arbitration matters, bankruptcies, among others, at:
  the Institute of Legal Research of the UNAM, the Federal Institute of Insolvency
  Specialists (IFECOM), the Mexican Bar Association, The Council Federal Judiciary,
  the Supreme Court of Justice of the Nation, the Mexican Association of International
  and Comparative Law, A.C., the U.S. - Mexico Bar Association, the American
  Chamber of Commerce, Ernst & Young (Mexico) and Latin Lawyer.
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36     Main Document
                                      Pg 14 of 18


  He has been member of the following associations: Mexican Bar Association, B.C.
  (Secretary of the Committee on Civil Law, 1990 - 1991), National Association of
  Business Lawyers, AC (Coordinator of the Civil Law Committee, 2005 - 2006),
  Member of the Litigation Council of the newspaper Reforma (2012-2013).

  He is also a Ranked Lawyer in the 2018 edition of Chambers and Partners in Dispute
  Resolution: Litigation and Bankruptcy/Restructuring.

  Mr. López Melih has lectured extensively on Bankruptcy and Business
  Reorganization Law, as well as on Arbitration and Civil and Access to Public
  Information Law. Some of his lectures are:

         “Efectos de la sentencia de Concurso Mercantil” (The effects of a business
         reorganization declaration/judgment). Conference at the Instituto de
         Investigaciones Jurídicas de la Universidad Nacional Autónoma de México
         (2001).

         “Transparencia en la Impartición de Justicia” (Transparency in the
         administration of justice). Conference sponsored by the newspaper
         Reforma, the Instituto de Investigaciones Jurídicas de la UNAM anf the Law
         Department of UNAM (2003)

         “El Concurso Mercantil” (The Business Reorganization) Conference
         sponsored by the Barra Mexicana Colegio de Abogados, A.C., the Instituto
         Federal de Especialistas en Concursos Mercantiles and the Suprema Corte
         de Justicia de la Nación.

         “La Defensa de la Empresa fuera de los tribunales: Medios alternativos para
         la solución de controversias” (Defending corporations outside of court:
         Alternate means for dispute resolution) Conference sponsored by the
         American Chamber of Commerce.

         “El arbitraje” (Commercial arbitration) Conference sponsored by the
         Asociación Mexicana de Derecho Internacional Privado y Comparado, A.C.

         “INTRODUCTION TO MEXICO BANKRUPTCY AND SOME CROSS
         BORDER INSOLVENCY ISSUES” Conference sponsored by the US-Mexico
         Bar Association (2008).
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36       Main Document
                                      Pg 15 of 18




          “A diez años del Régimen de Insolvencia Comercial en Mexico” (10 Years
          after the commercial insolvency regime in Mexico) Conference sponsored by
          Ernst & Young Mexico (2010).

          “The Mexican Bankruptcy Process, An Overview of the Mexican Business
          Reorganization Act” Conference sponsored by the US-Mexico Bar
          Association (2010).

          “Practical Consideration of an Out-of-court Restructuring in Mexico”
          U.S./Mexico Restructuring Symposium, sponsored by the American
          Bankruptcy Institute.



  PROFESSIONAL ACTIVITIES:

  Mr. Lopez Melih’s experience in litigation matters related to commercial and
  financial law derive from his representation and/or participation, in the context of
  civil and commercial litigation and/or the financial restructuring of several
  corporations, among them:

          Cervecería Moctezuma, S.A. de C.V. (Bankruptcy proceeding)

          Eaton Manufacturera, S.A. de C.V. (Bankruptcy proceeding)

          Grupo Tribasa, S.A. de C.V. (Business Reorganization Proceeding)

          Grupo K-2, S.A. de C.V. (Business Reorganization Proceeding)

          Satélites Mexicanos, S.A. de C.V. (Business Reorganization Proceeding)

          Controladora Comercial Mexicana, S.A. de C.V. (Business Reorganization
          Proceeding, representing Costco Wholesale)

          Metrofinanciera, S.A. de C.V. Business Reorganization Proceeding)

          Televisora del Valle de México, S.A. de C.V. (Business Reorganization
          Proceeding)
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36     Main Document
                                      Pg 16 of 18




         Transportación Marítima Mexicana, S.A. de C.V. (Restructuring)

         Sarens, NV (Business Reorganization Proceeding)

         The ad hoc group of note holders of Vitro, S.A.B. de C.V.

         Mexicana de Aviación, S.A Business Reorganization Proceeding).

         San Luis Co Inter (Business Reorganization Proceeding.



  In addition, he has represented other clients in the context of commercial,
  administrative, antitrust or civil disputes, among which are included:

         América Móvil, S.A.B. de C.V.

         Radiomóvil Dipsa, S.A. de C.V. (Telcel)

         Teléfonos de México, S.A.B. de C.V.

         The Bank of New York, N.A.

         Deutsche Bank AG

         Comisión Federal de Electricidad

         ING Bank, S.A.

         Altana AG

         Parmalat Canada Inc.

         Ericsson Telecom, S.A. de C.V.

         Tenaris Tamsa, S.A.

         Tubos y Aceros de México, S.A. de C.V.
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36        Main Document
                                      Pg 17 of 18




          Operadora Comercial de Desarrollo, S.A. de C.V. (Cinépolis)

          Grupo Modelo, S.A.B. de C.V.

          Petróleos Mexicanos

          UBS Capital Americas LLC

          ING (México), S.A. de C.V.

          Banco Nacional de México, S.A.

          GE Capital CEF México, S. de R. L.

  Finally, he has previously been qualified as an expert and given expert testimony on
  Mexican Law, among others, in the following foreign cases:

  United States Bankruptcy Court for the Southern District of New York:
         In re Garcia Avila: Case No. 03-14025 (SMB) (Temporary Restraining
         Order);
         Satélites Mexicanos, S.A. de C.V.: Case No. 05-13862 (RDD);
         Grupo Tribasa, S.A., Triturados Basálticos y Derivados, S.A. de C.V.: Case
         03-14025 (Temporary Restraining Order);
         Compañía Mexicana de Aviación, S.A. de C.V.: Case 10-14182 (MG).

  The United States Bankruptcy Court for the Northern District of Texas, Dallas
  Division: In re Vitro, S.A.B. de C.V.: case 11-33335 BANKR. N.D. Texas 2012.

  The Circuit Court of the Eleventh Judicial Circuit, in and for Miami-Dade County,
  Florida: In re Safilo USA, INC.: Case 08-64433 CA 09.

  And the High Court of Justice – Business and Property Courts of England and Wales:
  In re Exportadora de Sal, S.A. de C.V.: CL-2017-000280.
19-01294-scc   Doc 53   Filed 10/25/19 Entered 10/25/19 23:44:36   Main Document
                                      Pg 18 of 18


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